Case 1:23-cv-04070-JHR-SAK Document 10-2 Filed 10/05/23 Page 1 of 2 PageID: 128



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 Attorneys for Defendants Jeffrey Lancaster, Reynold Theriault, &
 Policemen’s Benevolent Association Mainland Local 77 (pleaded as
 “Mainland Local PBA 77”)

                    UNITED STATES DISTRICT COURT
                       DISTRICT OF NEW JERSEY
 ___________________________________
 CHRISTOPHER LEARY,                  : CIVIL ACTION NO.
                                     : 1:23-cv-04070-JHR-SAK
           Plaintiff,                :
                                     :
           vs.                       :
                                     :
 EGG HARBOR TOWNSHIP POLICE          : CERTIFICATION OF COUNSEL
 DEPARTMENT, THE TOWNSHIP OF EGG     : IN SUPPORT OF MOTION
 HARBOR, MAINLAND LOCAL PBA #77,     : TO DISMISS PLAINTIFF’S
 NEW JERSEY STATE ASSOCIATION OF     : COMPLAINT IN LIEU OF
 CHIEFS OF POLICE, STATE OF NEW      : ANSWER PURSUANT TO
 JERSEY, MICHAEL HUGHES,             : F.R.C.P. 12(b)(6)
 individually and acting under       :
 color of law, WILLIAM NALLY,        :
 individually and acting under       :
 color of law, JEFFREY LANCASTER,    :
 individually and acting under       : Oral Argument Requested
 color of law, REYNOLD THERIAULT     :
 individually and acting under       :
 color of law, DONNA L MARKULIC,     :
 individually and acting under       :
 color of law, JOHN and JANE         :
 DOES 1-10, ABC CORPORATIONS,        :
 and XYZ STATE ENTITIES.             :
                                     :
           Defendants.               :
 __________________________________ :

       Jeffrey D. Catrambone, of full age, certifies as follows:

    1. I am an attorney-at-law licensed to practice before this Court

       and a Partner with the law firm of Sciarra & Catrambone, LLC.
Case 1:23-cv-04070-JHR-SAK Document 10-2 Filed 10/05/23 Page 2 of 2 PageID: 129



         My firm represents     Defendants   Jeffrey Lancaster, Reynold

         Theriault,   &   Policemen’s   Benevolent   Association    Mainland

         Local 77 (“Defendants”) in the above-captioned matter.            As

         such, I am fully familiar with the facts herein.        I make this

         Certification in support of Defendants’ Rule 12(b)(6) motion

         to dismiss Plaintiff’s Complaint for failure to state a claim.

    2. Attached hereto are true and accurate copies of the following:


  EXHIBIT                       DESCRIPTION
     A    Plaintiff’s Complaint filed with this Court on 7/30/23

     B       Plaintiff’s Complaint filed with PERC dated 7/28/23



 I hereby certify that the foregoing statements are true.      I am
 aware that if any of the foregoing statements are willfully false,
 I am subject to punishment.

                                Sciarra & Catrambone, LLC
                                Attorneys for Defendants
                          By:   /s/ Jeffrey D. Catrambone (JC2870)

 Dated:       October 5, 2023




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